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   United States of America
 7

 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                             CASE NO. 2:12-CR-375 TLN
12                                  Plaintiff,             STIPULATION REGARDING RESTITUTION;
                                                           ORDER
13                           v.
                                                           DATE: October 9, 2014
14   KENNETH KIM PARKS,                                    TIME: 9:30 a.m.
                                                           COURT: Hon. Troy L. Nunley
15                                 Defendant.
16

17                                                 STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.       This matter is set for a restitution hearing on October 9, 2014.

21          2.       Mr. Parks was sentenced on August 7, 2014. On that date, and over the defendant’s

22 objection, this Court found that the amount of loss attributable to Mr. Parks as relevant conduct of the

23 offense of conviction was $1,904,472.

24          3.       The parties agree and stipulate that, in light of the Court’s ruling as to the loss amount,

25 the Court should order that Kenneth Parks pay restitution to the victim in the amount of $1,904,472.

26 The parties recommend that the Court waive any interest, and provide for joint and several liability as
27 set forth in the pre-sentence report.

28          4.       Despite waiving his appellate rights in a plea agreement, the defendant has filed a notice


      STIPULATION REGARDING RESTITUTION;                   1
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 1   of appeal. The parties agree that, if the appellate court vacates a material part of the defendant’s

 2   sentence, this stipulation shall not bind the defendant. However, should the appellate court find that the

 3   waiver provision in the plea agreement is binding and enforceable as to Mr. Parks, the parties agree that

 4   this stipulation will bind the defendant as to the matters set forth herein.

 5         IT IS SO STIPULATED.

 6

 7
     Dated: October 7, 2014                                   BENJAMIN B. WAGNER
 8                                                            United States Attorney
 9
                                                              /s/ JARED C. DOLAN
10                                                            JARED C. DOLAN
                                                              Assistant United States Attorney
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12
     Dated: October 7, 2014                                   /s/ DAN BRACE
13                                                            DAN BRACE
14                                                            Counsel for Defendant
                                                              KENNETH KIM PARKS
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18                                          FINDINGS AND ORDER

19         IT IS SO FOUND AND ORDERED this 8th day of October, 2014.

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23                                              Troy L. Nunley
24                                              United States District Judge

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      STIPULATION REGARDING RESTITUTION;                  2
      PROPOSED ORDER
